EXHIBIT
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                                  DECLARATION OF A.S.R.

I, A.S.R., declare:

   1. I am currently detained at Bluebonnet Detention Center in Texas.

   2. Prior to being at Bluebonnet, I was detained at Moshannon Valley Processing Center in
      Philipsburg, Pennsylvania.

   3. Around 3AM on Tuesday, April 15, I was woken up by some guards. They told me I was
      being transferred. This surprised me since I had immigration court that day. I told them
      this but they said I had to, that they were just following orders.

   4. After I was taken out of the dorm, they brought me and other people to a holding cell. We
      waited there for several hours.

   5. The guards gave us each a piece of paper that gave us notice about us getting transferred
      to another detention facility. I asked again why they were transferring me because I had
      immigration court that day. They told me they were just following orders.

   6. After some time, the guards began to bring us out one by one to the buses. To do this,
      they shackled my hands and my ankles. On my way out to the bus, while I was still in the
      detention facility, I saw that a clock on the wall said it was 11 AM.

   7. There were two buses that they were putting people on. Each bus had about 25 people.
      Getting everyone on the buses took time as they were putting us on one by one. I was put
      on the second bus and I waited on the bus for about 20 minutes before we left
      Moshannon. The two buses left Moshannon at the same time.

   8. I think the drive to the airport took about 2 to 2.5 hours.

   9. When we got to the airport, we waited on the bus for about an hour.

   10. We arrived in Texas around 6:00 PM or 6:30 PM. They took 11 Venezuelans, including
       me, from the plane and brought us to Bluebonnet. We had all been detained previously at
       Moshannon, although two from the group of 11 were only at Moshannon briefly, like less
       than a day. The other people on the plane were taken to some other detention center. A
       few of them were Venezuelans who had final orders of removal, but other people were
       from El Salvador and Mexico.

   11. When we got to Bluebonnet, officers put us in a holding cell. There were about 50
       Venezuelans in the holding cell that I was in together, including the group of 11 that I
       was brought in with. But there were more Venezuelans in other cells. In the cell I was in,
       we had to sleep on the floor that night and we remained in the cell next day until about 5
       PM. Then we were taken to a housing unit.



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   12. I, A.S.R., swear under penalty of perjury that the forgoing declaration was read back to
       me in Spanish through a professional interpretation service on April 22, 2025 and that it
       is true and correct to the best of my knowledge. I further swear under penalty of perjury
       that paragraphs 7, 10, 11, and 12 were read back to me on April 24, 2025 and that they
       are true and correct to the best of my knowledge.


I, Vanessa L. Stine, swear under penalty of perjury that I read the forgoing declaration to A.S.R.
in Spanish through a professional interpretation service on April 22, 2025, and that I reviewed
paragraphs 7, 10, 11, and 12 with A.S.R. in Spanish through a professional interpretation service
on April 24, 2025, and that A.S.R. agreed understood and agreed with its contents.




___________________________________                                 4/24/2025
Name: Vanessa L. Stine                                              Date




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